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United States v. Michael Tew
   The rest of the story.
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         “This Case Is CRAZY”
Gambling /
                       Algorithms                    Prostitution                      Drugs
 Bitcoin


                                                                                     Money
                        A fake                       Blackmail /
“Conspiracy”                                                                     laundering –
                       wedding?                       Threats
                                                                                   spending.

                                                  Peter Pan
                       “More sad
 Vulgarity                                       Donuts from                     Manipulation
                       than mad.”
                                                 Brooklyn, NY.
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Complicated - Cooperator



                                                         Jonathon
                                                          Yioulos
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                      “Conspiracy”

Mr. Fields used the word “conspiracy” numerous times in
his questions of Mr. Yioulos.

As part of his examination, Mr. Yioulos said the word
“conspiracy” a total of 64 times.
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                     “Conspiracy”
Remember: As part of this testimony, Mr. Yioulos used the
word “conspiracy” a total of 64 times.

Magically, after being cross examined on this and taking a
lunch break where he was observed talking to his attorney,
a former federal prosecutor, Mr. Yioulos decided to stop
using the word conspiracy.

Why? “I just decided to say “this,” instead.
 Jonathan Yioulos took an oath, sat in the witness box,
 and lied to you just to hide the government’s narrative…
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                 “Conspiracy”

                                                                                    ...
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            “Coming Clean”




                                                                                    7
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    Yioulos’ Prior Thefts




                                                                                    8
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Yioulos’ Deal with the Prosecution




                                                                                      9
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Yioulos’ Deal with the Prosecution
                                                                  Plea agreement, not
                                                                  drafted by Yioulos,
                                                                  fails to mention when
                                                                  Yioulos started
                                                                  defrauding NAC –
                                                                  before the allegations
                                                                  in this case began.


                                                                                       10
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          Jonathon Yioulos

                                                           A “wedding,”
                                                           which did not
                                                            result in a
                                                             marriage.
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            Yioulos is a bad liar
   Government’s Exhibit 975
Consensual call with Michael Tew
         July 8, 2020
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                Witness Credibility



  You should consider the testimony of Jonathan
Yioulos with “caution and weigh it with great care” –
 more so than the testimony of an ordinary witness.
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 Jon the Fraudster
One of two people in this case that
said they deleted evidence (i.e
destroyed text messages).

Saved Michael Tew in his phone as
“JB”

Certified Public Accountant (CPA):
an expert at “cooking the books.”


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                 Abby Schwartz
“off the top of my head, no one but
Yioulos could have set this fraud up”




                                                                                       15
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  The story behind the Indictment
Have you figured it out yet?

The government investigated Michael Tew, only to find that
Kimberley Tew was the one “driving” the activities.

But even in Mr. Yioulos’ plea agreement, they don’t want you to
see that. They don’t want to remind you of that…


                                      Why?
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                         Who got what?
Jonathan Yioulos
(1) Bitcoin, which he said in his plea agreement that he sold for
    $100,000.00.
(2) Plus, his pre-allegations fraud on NAC, which he admitted
    involved at least $60,000.00.
(3) “First one to talk to us is going to get the best deal.”

Kimberley Tew
(1) Control
(2) Proceeds to feed her gambling addictions – including her
    Bitcoin algorithm
(3) Yet only 13 charges against her…
                                                                                             17
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                            Who got what?
Christopher Alf + National Air Cargo
(1) Reimbursed by insurance (except as to the AMEX
    charges), yet the government wants you to believe that
    Michael Tew caused the Company deep financial harm…




“War is great for the Company…” - Jonathan Yioulos
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                 Who got what?
Michael Tew
(1) 59 counts.

      *Fired from his job after his wife abused his corporate credit card.

      *The only person charged with willfully failing to file taxes.
            -Not Jonathan Yioulos.
            -Not Kimberley Tew.
            -Not Michael Meyers.

      *Greater than 4x the number of charges as Kimberley Tew (only 13
      counts).

                            13 + 13 + 13 + 13 = 52.
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                      Mrs. Tew’s Influence
Testimony every lay witness that Mrs. Tew manipulated or bullied them:

        (1) Jonathan Yioulos
                  *Blocked her number(s).
                  *Threatened.
                  * “In the background screaming at the top of her lungs…”
        (2) Hannah Scaife
                  * “Used” by Kimberley Tew to “look good.”
                  * Blamed Kimberley Tew for her own poor choices, including violating
                    the law.
        (3) Abby Schwartz
                  *Berated on the phone and had to demand that she not have to speak to
                    Mrs. Tew ever again.
        (4) Michael Meyers
                  *Under Mrs. Tew’s “spell” in breaking the law.
        (5) Brittany Perry, Navy Federal Credit Union
                  * “Paranoid.”
        (6) How do you think she treated Michael Tew?
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Mrs. Tew’s Influence.
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YOU ARE THE JUDGES OF THE FACTS




            The government has the burden of proving Michael Tew
                        guilty beyond a reasonable doubt
              and if it fails to do so you must find him not guilty.




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     Proof beyond a reasonable doubt.

 Unless the government proves
beyond a reasonable doubt that
Mr. Tew has committed each and
  every element of an offense
 charged in the Indictment, you
 must find him not guilty of that
             offense.
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  ALWAYS ON THE GOVERNMENT


This burden never shifts to
         Mr. Tew.
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                              Instruction #3
Based upon reason and common sense after careful and
impartial consideration of all the evidence in the case.


    The evidence, the lack of evidence, nature of the evidence.



        That would make a reasonable person hesitate to act.


              So convincing that a reasonable person would not hesitate
              to rely and act upon it in making the most important
              decisions in his or her own life.
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• You now have the power

• Think about everything that does
  not make sense

• Use your power to do the right
  thing
                                                                                       27
